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            EXHIBIT 5
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     WEBSTER’S
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    Collegiate
    Dictionary

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     Library of Congress Cataloging in Publication Data
     Main Entry under title:

     Webster’s ninth new collegiate dictionary.

        Based on Webster’s third new international
     dictionary.
        Includes index.
        1. English language—Dictionaries. I. Merriam-
     Webster Inc.
     PE1628.W5638        1983       423         82-20801
     ISBN 0-87779-508-8
     ISBN 0-87779-509-6 (indexed)
     ISBN 0-87779-510-X (deluxe)




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                                                                                                                                   hoist • hole               575
 ^hoist n (1654) 1: an act of hoisting : lift 2 : an apparatus for hoist­              : grip (released his ~ on the handle) (2) : a manner of grasping an
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 ‘hoi-ty-toi-ty \,höit-e-'töit-e, ,hit-e-'tit-e\ n [irreg. redupl. of E dial, holt     or constrains or by which something is affected, controlled, or domi­
  (to play the fool)] (1668): thoughtless giddy behavior                               nated (has lost its ~ on the broad public —Oscar Cargill) c : full
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    possession syn see have, contain — hold a candle to : to qualify for                  coat) b: an area where something is missing : GAP: as (1): a serious
    comparison with — hold court : to be the center of attention among                    discrepancy : flaw, weakness (there are ~s in your logic) (2) : an
    friends or admirers (literary or political figures who hold court. . , and            opening in a defensive formation; esp : the area of a baseball field be­
    delight the assembled flatterers with tales of folly and misrule —Lewis               tween the positions of shortstop and third baseman (3) : a defect in a
    Lapham) — hold forth : to speak at length : expatiate— hold hands                     crystal (as of a semiconductor) that is due to an electron’s having left
     : to engage one’s hand with another’s esp, as an expression of affection             its normal position in one of the crystal bonds and that is equivalent in
    — hold one’s own : to do well in the face of difficulty or opposition —               many respects to a positively charged particle 2 : a cavity, depression,
     hold sway : to have a dominant influence : rule — hold the bag 1                      or hollowed-out place: as a: a cave, pit, or well in the ground b: an
     : to be left empty-handed 2 : to bear alone a responsibility that                     unusually deep place in a body of water c : burrow 3 a : a shallow
     should have been shared by others — hold the fort 1 : to maintain a                   cylindrical hole in the putting green of a golf course into which the ball
     firm position 2 : to take care of usual affairs (is holding the fort until            is played b : a part of the golf course from tee to putting green (just
     the manager returns) — hold the line : to maintain the current position
     or situation (holding the line on prices —Current Biog.) — hold to : to
     give firm assent to : adhere to strongly (holds to his promise) — hold            \s\abut \3\ kitten, F table \or\ further \a\ ash \ä\ace \ä\cot, cart
     to account : to hold responsible — hold water : to stand up under                 \aü\ out \ch\ chin \e\ bet \e\ easy \g\ go \i\ hit \I\ ice \j\ job
     criticism or analysis — hold with : to agree with or approve of
  2hold n (14c) 1 : stronghold 12a: confinement, custody b                             \ij\ sing \ö\ go \6\ law \6i\ boy \th\ thin \th\ the \ii\ loot \u\ foot
   : Prison 3 a (1) : the act or the manner of holding or grasping                     \y\ yet \zh\ vision \a, k, ", oe, ce, ie, üe, y\ see Guide to Pronunciation
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      delight the assembled flatterers with tales of folly and misrule —Lewis         tween the positions of shortstop ana third baseman (3) : a defect in a
      Lapham) — hold forth : to speak at length : expatiate— hold hands               crystal (as of a semiconductor) that is due to an electron’s having left
      : to engage one’s hand with another’s esp. as an expression of affection        its normal position in one of the crystal bonds and that is equivalent in
      — hold one’s own : to do well in the face of difficulty or opposition —         many respects to a positively charged particle 2 : a cavity, depression,
      hold sway : to have a dominant influence : rule — hold the bag 1                or hollowed-out place: as a : a cave, pit, or well in the ground b : an
      : to be left empty-handed 2 : to bear alone a responsibility that               unusually deep place in a body of water c : burrow 3 a : a shallow
      should have been shared by others — hold the fort 1 : to maintain a             cylindrical hole in the putting green of a golf course into which the ball
      firm position 2 : to take care of usual affairs (is holding the fort until      is played b : a part of the golf course from tee to putting green (just
      the manager returns) — hold the line : to maintain the current position
      or situation (holding the line on prices —Current Biog.) — hold to : to
      give firm assent to : adhere to strongly (holds to his promise) — hold         \3\ abut \3\ kitten, F table \sr\ further \a\ ash \ä\ace \ä\cot, cart
      to account : to hold responsible — hold water : to stand up under              \aü\ out \ch\ chin \e\ bet \e\ easy \g\ go \i\ hit \i\ ice \j\ job
      criticism or analysis — hold with : to agree with or approve of                \0\sing\ö\go \6\ law \oi\ boy \th\ thin \th\the \ii\loot \u\foot
    2hoId n (I4c) 1 : stronghold 12a: confinement, custody b
      : prison 3 a (1) : the act or the manner of holding or grasping                \y\ yet \zh\ vision \a, k, ", ce, ce, us, m, y\ see Guide to Pronunciation
